        Case: 22-2606         Document: 113        Filed: 02/15/2023      Pages: 74

                                        No. 22-2606

                                           In the
        United States Court of Appeals
                            for the Seventh Circuit

                      IN RE: AEARO TECHNOLOGIES LLC, et al.,
                                                              Debtors-Appellants.
________________________________________________________________________________

AEARO TECHNOLOGIES LLC, AEARO HOLDING LLC, AEARO INTERMEDIATE
        LLC, AEARO, LLC and 3M OCCUPATIONAL SAFETY LLC,
                                                        Appellants,
                                v.
    THOSE PARTIES LISTED ON APPENDIX A TO THE COMPLAINT and
                    JOHN & JANE DOES, 1-1000,
                                                         Appellees.
                         _______________________________________
                       Appeal from the United States District Court
      for the Southern District of Indiana, Indianapolis Division, No. 0756-1:22-50059.
                   The Honorable Jeffrey J. Graham, Judge Presiding.

CORRECTED BRIEF OF APPELLEES BELLWETHER PLAINTIFFS, BAILEY
   GLASSER APPELLEES, JOHN & JANE DOES, TRACEY FOX KING &
WALTERS and THE JOHNSON LAW GROUP, CHARLES RATAJ and KELLER
 POSTMAN LLC, and THOSE PARTIES LISTED ON APPENDIX A TO THE
                         COMPLAINT


Adam Wolfson (pro hac vice)          Patricia B. Tomasco         Andrew Schapiro
Eric D. Winston (pro hac vice)       (pro hac vice)              QUINN EMANUEL URQUHART
QUINN EMANUEL URQUHART               QUINN EMANUEL URQUHART      & SULLIVAN, LLP
& SULLIVAN, LLP                      & SULLIVAN, LLP             191 North Wacker Drive
865 South Figueroa Street            711 Louisiana               Suite 2700
10th Floor                           Suite 500                   Chicago, IL 60606
Los Angeles, CA 90017                Houston, TX 77002           (312) 705-7400
(213) 443-3000                       (713) 221-7000


          Counsel for Defendants-Appellees on behalf of Bellwether Plaintiffs
                         (additional counsel listed on inside cover)


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Martha R. Lehman                             Kevin W. Barrett
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Capital Center, South Tower                  Charleston, WV 25301
Suite 1400                                   (304) 345-6555
Indianapolis, IN 46204
                                             -and-
(317) 464-4142
                                             Brian A. Glasser
Counsel to the Defendants-Appellees on       BAILEY & GLASSER LLP
behalf of Tracey Fox King & Walters and      1055 Thomas Jefferson Street, N.W.
The Johnson Law Group                        Suite 540
                                             Washington, DC 20007
                                             (202) 463-2101

                                             Counsel to the Defendants-Appellees on behalf of
                                             The Bailey Glasser Appellees

Ashley Conrad Keller
KELLER POSTMAN LLC
150 N. Riverside Plaza
Suite 4100
Chicago, IL 60606
(312) 742-5220

Counsel to the Defendants-Appellees on
behalf of Charles Rataj and Keller Postman
LLC
                                                                                    Save As                  Clear Form
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           22-2606

      Aearo Technologies, LLC v. Those Parties Listed on Appendix A to the Complaint




**Amended** Bellwether Plaintiffs Adkins, Wilkerson, and Vaughn and several thousand additional plaintiffs




Quinn Emanuel Urquhart & Sullivan, LLP




        N/A



         N/A



N/A



N/A



          Andrew H. Schapiro                                       January 25, 2023

               Andrew H. Schapiro



191 N. Wacker Drive, Suite 2700

Chicago, IL 60606

      312-705-7400

      andrewschapiro@quinnemanuel.com
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           22-2606

      Aearo Technologies, LLC v. Those Parties Listed on Appendix A to the Complaint




Bellwether Plaintiffs Adkins, Wilkerson, and Vaughn and several thousand additional plaintiffs




Quinn Emanuel Urquhart & Sullivan, LLP




         N/A



         N/A



N/A



N/A



          Patricia B. Tomasco                                       January 25, 2023

               Patricia B. Tomasco



711 Louisiana Suite 500

Houston, TX 77002

      713-221-7000

      pattytomasco@quinnemanuel.com
                                                                                      Save As                Clear Form
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      Aearo Technologies, LLC v. Those Parties Listed on Appendix A to the Complaint




Bellwether Plaintiffs Adkins, Wilkerson, and Vaughn and several thousand additional plaintiffs




Quinn Emanuel Urquhart & Sullivan, LLP




         N/A



         N/A



N/A



N/A



          Eric D. Winston                                           January 25, 2023

               Eric D. Winston



865 South Figueroa Street, 10th Floor

Los Angeles, CA 90017

      213-443-3000

      adamwolfson@quinnemanuel.com
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           22-2606

      Aearo Technologies, LLC v. Those Parties Listed on Appendix A to the Complaint




Bellwether Plaintiffs Adkins, Wilkerson, and Vaughn and several thousand additional plaintiffs




Quinn Emanuel Urquhart & Sullivan, LLP




         N/A



         N/A



N/A



N/A



          Adam Wolfson                                              January 25, 2023

               Adam Wolfson



865 South Figueroa Street, 10th Floor

Los Angeles, CA 90017

      213-443-3000

      adamwolfson@quinnemanuel.com
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                                APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

Appellate Court No: 22-2606

Short Caption: Aearo Technologies, LLC, et al v. Those Parties Listed on Appendix A to the Complaint et al.

   To enable the judges to detennine whether recusal is necessary or appropriate, an attorney for a non-governmental party, amicus curiae,
intervenor or a private attorney representing a government party, must furnish a disclosure statement providing the following information
in compliance with Circuit Rule 26.1 and Fed. R. App. P. 26.1.

   The Court prefers that the disclosure statements be filed immediately following docketing; but, the disclosure statement must be filed
within 21 days of docketing or upon the filing of a motion, response, petition, or answer in this court, whichever occurs first. Attorneys are
required to file an amended statement to reflect any material changes in the required infonnation. The text of the statement must also be
included in the front of the table of contents of the party's main brief. Counsel is required to complete the entire statement and to use
N/A for any information that is not applicable if this form is used.

         □         PLEASE CHECK HERE IF ANY INFORMATION ON THIS FORM IS NEW OR REVISED AND
                   INDICATE WHICH INFORMATION IS NEW OR REVISED.

( 1)     The full name of every party that the attorney represents in the case (if the party is a corporation, you must provide the corporate disclosure
         infonnation required by Fed. R. App. P. 26.1 by completing item #3):
         Tracey Fox King & Walters and The Johnson L.aw Group



(2)      The names of all law finns whose partners or associates have appeared for the party in the case (including proceedings in the district court or
         before an administrative agency) or are expected to appear for the party in this court:
         SmithAmundsen LLC



(3)      If the party, amicus or intervenor is a corporation:

         i)        Identify all its parent corporations, if any; and

                    NIA

         ii)       list any publicly held company that owns I 0% or more of the party's, amicus' or intervenor's stock:

                    NIA
( 4)     Provide infonnation required by FRAP 26.1 (b)- Organizational Victims in Criminal Cases:

          N/A
(5)      Provide Debtor infonnation required by FRAP 26.1 (c) 1 &2:

          The Debtors are wholly-owned subsidiaries of non-Debtor 3M Company


Attorney's Signature: /s/ Martha R. Lehman                                      Date: September 26, 2022

Attorney's Printed Name: Mar\l@KL@fall>

Please indicate if you are Counsel ofRecord for the above listed parties pursuant to Circuit Rule 3(d).    «zJ-L
Address: SmithAmundsen LLC, 201 N. Illinois Street, Suite 1400, Indianapolis, IN 46204




Phone Number: 317-464-4142                                                  Fax Number: 317-464-4143

E-Mail Address: mlehman@smithamundsen.com
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                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

                    22-2606
Appellate Court No: _______________

               3M Occupational Safety LLC v. Those Parties Listed on Appendix A to the Complaint, et al
Short Caption: _________________________________________________________________________________________

   To enable the judges to determine whether recusal is necessary or appropriate, an attorney for a non-governmental party, amicus curiae,
intervenor or a private attorney representing a government party, must furnish a disclosure statement providing the following information
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N/A for any information that is not applicable if this form is used.

          [     ]   PLEASE CHECK HERE IF ANY INFORMATION ON THIS FORM IS NEW OR REVISED AND
                    INDICATE WHICH INFORMATION IS NEW OR REVISED.

(1)       The full name of every party that the attorney represents in the case (if the party is a corporation, you must provide the corporate disclosure
          information required by Fed. R. App. P. 26.1 by completing item #3):
           The Bailey Glasser Appellees, namely the Defendants identified in Appendix A to the Complaint as being represented
          ________________________________________________________________________________________________________

          by Bailey & Glasser, LLP. See attached list.
          ________________________________________________________________________________________________________

(2)       The names of all law firms whose partners or associates have appeared for the party in the case (including proceedings in the district court or
          before an administrative agency) or are expected to appear for the party in this court:
           Bailey & Glasser LLP
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(3)       If the party, amicus or intervenor is a corporation:

          i)        Identify all its parent corporations, if any; and

                    ________________________________________________________________________________________________

          ii)       list any publicly held company that owns 10% or more of the party’s, amicus’ or intervenor’s stock:

                    ________________________________________________________________________________________________

(4)       Provide information required by FRAP 26.1(b) – Organizational Victims in Criminal Cases:

          ________________________________________________________________________________________________________

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2: Aearo LLC, Aearo Intermediate LLC, Aearo Holding LLC,

           Aearo Mexico Holding Corp. & Cabot Safety Intermediate LLC; 3M Occupational Safety LLC is a wholly owned subsidiary of 3M Company



                       /s/ Kevin W. Barrett
Attorney’s Signature: ________________________________________        09/26/2022
                                                               Date: ________________________________________

                         Kevin W. Barrett
Attorney’s Printed Name: __________________________________________________________________________________

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).         ✔ No _____
                                                                                                           Yes _____

         209 Capitol Street
Address: ______________________________________________________________________________________________

           Charleston, West Virginia 25301
          ________________________________________________________________________________________________________

              (304) 345-6555
Phone Number: ________________________________________             (304) 342-1110
                                                       Fax Number: ______________________________________

                kbarrett@baileyglasser.com
E-Mail Address: __________________________________________________________________________________________________
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THE BAILEY GLASSER APPELLEES
                                              Middle
         Last Name           First Name       Name
Aldarondo               Tony
Allen                   Desmond
Alpen                   Masayuki
Alvarez                 Ernie                 Anthony
Andersen                Brandon
Angier                  James                 David
Arnold                  Jeffrey               Lee
Attoe                   Dylan                 J
Austin                  Alan
Austin                  Justin
Austin                  Samuel
Avila                   William
Baccaire                David
Baisden                 Nicholas              R
Baker                   Brett
Bales                   Joleen
Balkcom                 Steve

Bamberg                 Darrel
Banas                   Joseph
Barrett                 Morgan                Thomas
Barry                   Robert
Batchelor               Lance
Bennett                 David
Bentley                 Troy
Bernal                  Daniel                Anthony
Berry                   Ricardo
Blanton                 Justin                Aaron
Bledsoe                 Shannon               Dale
Bordes                  John                  Horace
Borrud                  Bryan
Borzek                  Brian
Bostick                 Michael
Braddock                Val
Branson                 Charlie
Bridges                 Jack
Bridges                 Robert
Brietz                  Edwin                 Blake

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                                            Middle
Last Name               First Name          Name
Brown                   Malcom              Terrell
Bruce                   Leonard             Harold
Bruner                  Nathan              Gerald
Bryant                  Dwan
Buck                    Albert
Burka                   Ryan
Burt                    Andrew
Burton                  Alexander
Butler                  Donald
Calloway                Davon
Canell                  Edward              Vincent
Capouch                 Bryon
Cardone                 Todd
Carlson                 Benjamin
Carrell                 David               Allen
Carter                  Christopher         Terence
Caruso                  David               Andrew
Carwile                 Stephen
Cathey                  Horace, Jr.         C
Chan                    Phillip
Chelune                 Michael
Church                  Brandon
Clark                   Kenneth
Clements                Jaysen
Cortez, Jr              Jose                de Jesus
Cowden                  Michael
Cox                     David
Crowder                 Dustin
Cruz                    Pedro               J
Cuen                    Anthony
Cummings                Adzil               Olvis
Daugherity              Alexander           Scott
Davidson                Ryan                James
Davis                   Terrence            Christopher
Dawson                  Chris
Deis                    Ryan                Murphy
Delatorre               Julio
Delgadillo              Michael
Dennis                  Angela              Ann
Dewberry                Joseph              William
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                                            Middle
Last Name               First Name          Name
Diaz                    Porfirio
Dick                    James               Donald
Dixon                   Randy               Ray
Dobson                  Gregory
Duey                    Jason               Scott
Dupree                  Brandon             Kyle
Duvall                  Jeffrey             T
Eagle                   Ronald              Lee
Espinosa                Harold
Etherton                Camran
Exley                   Brandtley
Farmer                  David               Michael
Farmer                  Marques             Dewayne
Feron                   Corey               Andrew
Field                   Ethan
File                    Renaldo
Fine                    Thomas
Fisher                  Brandon
Ford                    Byron
Ford                    Gregory             Richard
Ford                    Patrick             Ryan
Ford                    Warren              Bale
Foster                  Tyrone
Fox                     Jared
Gay                     Thomas              Allen
Getman                  Andrew              P
Gilbeau                 Garrett
Gonzalez                Andres              Felipe

Gonzales‐Bernard        Carlos
Goodwin                 Derek               Wayne
Gooley                  Timothy
Gordon                  Gregory
Goudy                   Justin              Andrew
Graddy                  Brian               L
Graff                   Jason               Timothy
Grant                   Roderick            Darell
Gray                    Marcus              Allen
Green                   Christopher         R
Green                   David
                                        3
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                                            Middle
Last Name               First Name          Name
Grimes                  Michael             John
Gruszie                 Carey
Hall                    Peter               A
Haraldson               Sean                Henry
Harmon                  Freddie
Harris                  Alonzo              Alexander
Harris                  Antuan
Havir                   Scot                A
Hayden                  Andrew
Heindel                 Brent
Hellmich                Tyler
Henderson               Joseph              Todd
Herald                  Austin
Herbert                 Joseph              Bailey
Hernandez               Eric
Hicks                   Jacob               William
Hillery                 Forrell             M
Hirschler               Ayron
Hoffman                 Thomas              L
Holt                    Nathan              Allen
Hooks                   Roger               Lee
Hoosier                 Lauren              Wing
Hoppas                  Kelsey
Horsford                Rahun
Horton‐Fisher           Josef               A
Howard                  Matthew             David
Hudson                  Lucas
Jermark                 David               Kent
John                    Natasha             Ann
Johnson                 Jeff
Johnson                 Edward
Jones                   Terrel
Juarez                  Daniel
Knight                  Jason
Lagud                   Lawrence
Lake                    William             John
Lamb                    Scott
Lass                    Paul                Eugene
Lattimer                Margaret
Lawrence                James
                                        4
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                                                Middle
Last Name                First Name             Name
Lee                      Chad
Lewis                    Bradley                Keith
Lizyness                 Joseph                 Bradley
Loos                     Justin
Lopez                    Wilkins                Martinez
Loveless, Jr.            Van                    Curtis
Lowther                  Christopher
Lundy                    Jeffrey
Lyons                    Bobby

Lyszaz                   Joseph
Lyttle                   Darrell                Richard
Mackay                   Christopher
Maggard, Jr.             Thomas ("Tommy")       Reed
Malena                   Anthony
Malone                   Celise
Mantz                    Christopher
Martin                   Robert
Martin                   William                Luke
Martinez                 Varon                  Maldonado
Martinez                 Jesus
Matheson                 Christopher            Charles
McDowell                 Daniel
McKimmie                 Patrick
McLean                   Teal                   Murphy
McRoberts                Thomas
Meierer                  Louis
Mendez‐Quinonez          Miguel                 Alonzo
Mendoza                  Robert
Metoxen                  Joseph
Meyer                    Austin                 Robert
Meyer, Jr.               David
Miller                   Joshua                 Alec
Miller                   Todd                   Douglas
Mitchell                 MD
Montana                  Joseph
Moore                    Stephen                Roy
Moorehead                Robert
Morris                   John
Neveu                    Todd
                                            5
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                                           Middle
Last Name              First Name          Name
Nolen                  William
Noles                  Jordan              Marquis
Nuckolls               Gerald
Ocampo                 Carlo
Ochoa                  Rodolfo
Olson                  David               William
Padilla                Mark                Gaspar
Page                   Joseph
Parrish                Jason               Edward
Payne                  Charlie
Pendleton              William             Travis
Pene                   Jacob               Brennan
Pennepacker            Tadd
Percival               Robert              Sumner
Perrier                Antoine             Vincent
Perrotta               Robert
Perry                  Jason
Perry                  Travis
Peterson               Daniel              Joseph
Phillips               Christopher         Jon
Phillips               Scott
Phu                    Danny
Pieroni                Joseph
Pitre                  James
Potter                 Aaron               Robert
Poullard               Yolanda             Kaye
Prince                 Kenneth             Lamar
Purvis                 Andrew              Michael
Quirk                  Darrell             Raymond
Ray                    Joshua
Raymond                Joel                Avi
Ricord                 Michael             Silva
Rinker                 Curtis              Thomas
Rios                   Sergio              Mauricio
Riosbaez               Luis                Lorenzo
Rodgers                Alexander           Leo
Roesch                 Robert              Michael
Ronningen              Scott
Rothweiler             Matthew             Bryan
Rowland                Michael
                                       6
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                                            Middle
Last Name               First Name          Name
Rybarczyk               James               Leonard
Sanders                 Patrick             Alexander
Sasaki                  Hiro                Dewayne
Schlemmer               Shaun
Seelbinder              Thomas              Scott
Sharpen                 Gary
Sharratt                Justin
Shaw                    Kenneth
Shero                   Tyson               Richard
Short                   Billy
Sidley                  Mark                David
Simmonds                Kelly               Ray
Simmons                 Evelyn              Renee
Smith                   Peter
Spencer                 Darrell
Spencer                 Monterrio           Denzel
Spencer, II             Rocky               Lee
Spratt                  Cynthia
Steele                  Prentiss            Fulton
Stone                   Cody                Dane
Storey                  Christopher         Paul
Storey                  Devin
Streeter                David               Baldwin
Tafoya                  Timothy             Brian
Talbot                  Jason
Tarpen                  Jeffrey             Richard
Taylor                  Sean
Terrell                 Winston             D
Tilton                  Verle               Ryan
Timmons                 Bryan               Thomas
Touchstone              Jaymz
Touchstone              Jeremy
Townsend                Brian               Keith
Troublefield            Franklin            Dominic
Vasquez                 Angelo
Vaughn                  Sanders             Theodore
Vetland                 Lars
Vogt                    James
Volker                  Jason               William
Ware                    Charles
                                        7
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                                            Middle
Last Name               First Name          Name
Washington              Brandon             Demetrius
Watson                  Matthew             Scott
Weir                    Micah               Paul
Wellmon                 Kevin               ERLE
Wernke                  Gregory             John
West                    David               L
Whittington             Nickolas            Lance
Williams                Darnell             Lamar
Williams                Todd                Robert
Williams                Billy
Wilson                  James
Wise                    Christopher
Worzalla                Thomas
Wren                    Anthony             Elijah
Yarbrough               Clifford
Young                   David               Allen
Abendroth               Eric                Ryan
Baker                   Roderick            James
Belling                 David
Beltran                 Juan
Berry                   Travis              David
Burch                   Clinton
Cassick                 Thomas
Clark                   James               Lamar
Daniel                  Jason               Lane
DeLeon                  Jerry
Deubel                  Richard             Edward
Dimick                  John
Dove                    Joseph
Farmer                  Nicole
Fuller                  Matthew
George                  Danny
Gonzales                Joe
Gordon                  Charles             Robert
Gottschalk              Sidney
Grandstrom              Jamus               Jacob
Gravel                  Mark                Joseph
Guillory                Scott               Earl
Gutierrez               Adam
Hambright               Kenneth
                                        8
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                                           Middle
Last Name              First Name          Name
Hartog                 Jace
Huertas, Jr            Miguel              Angel
Jackson                Dale                Forest
Jessee                 Mark
Labonte                Christopher
Lewing                 Timothy
Lockett                Angela              Zaranette
Lockett                Ernest              Leon
Mateo                  Samuel
Mathews                Joshua
McLean                 Arthur              Cam
Montgomery             Chad                Taylor
Moore                  Roger               Keith
Myllenbeck             Corey
Neal                   Daniel
Oliver                 Patrick
Owens                  Timothy
Patterson              Tony
Pearce                 Mike                Lawrence
Pentek                 Zachary             Alexander
Perry                  James
Porto                  Roosvelt            Marcelino
Ragucci                John
Ratliff                Stephen             C
Releford               Ellington           Delano
Robinson               Terrence            DeVon
Robinson               Terry
Saylor                 Christopher
Servin                 Octavio             Loera
Sitton                 Evan
Smith                  Harry               William
Smith                  Terry               Emmett
Sterling               Tyler
Taylor                 Robert              Eugene
Underwood              McArthur Jr.
Williams               Marrio              Dionnie
Woods                  Dewayne
Turman                 Jesse               Bernard
Twitty                 James               Austin


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                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

                    22-2606
Appellate Court No: _______________

               3M Occupational Safety LLC v. Those Parties Listed on Appendix A to the Complaint, et al
Short Caption: _________________________________________________________________________________________

   To enable the judges to determine whether recusal is necessary or appropriate, an attorney for a non-governmental party, amicus curiae,
intervenor or a private attorney representing a government party, must furnish a disclosure statement providing the following information
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included in the front of the table of contents of the party’s main brief. Counsel is required to complete the entire statement and to use
N/A for any information that is not applicable if this form is used.

          [     ]   PLEASE CHECK HERE IF ANY INFORMATION ON THIS FORM IS NEW OR REVISED AND
                    INDICATE WHICH INFORMATION IS NEW OR REVISED.

(1)       The full name of every party that the attorney represents in the case (if the party is a corporation, you must provide the corporate disclosure
          information required by Fed. R. App. P. 26.1 by completing item #3):
           The Bailey Glasser Appellees, namely the Defendants identified in Appendix A to the Complaint as being represented
          ________________________________________________________________________________________________________

          by Bailey & Glasser, LLP. See attached list.
          ________________________________________________________________________________________________________

(2)       The names of all law firms whose partners or associates have appeared for the party in the case (including proceedings in the district court or
          before an administrative agency) or are expected to appear for the party in this court:
           Bailey & Glasser LLP
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(3)       If the party, amicus or intervenor is a corporation:

          i)        Identify all its parent corporations, if any; and

                    ________________________________________________________________________________________________

          ii)       list any publicly held company that owns 10% or more of the party’s, amicus’ or intervenor’s stock:

                    ________________________________________________________________________________________________

(4)       Provide information required by FRAP 26.1(b) – Organizational Victims in Criminal Cases:

          ________________________________________________________________________________________________________

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2: Aearo LLC, Aearo Intermediate LLC, Aearo Holding LLC,

           Aearo Mexico Holding Corp. & Cabot Safety Intermediate LLC; 3M Occupational Safety LLC is a wholly owned subsidiary of 3M Company



                       /s/ Brian A. Glasser
Attorney’s Signature: ________________________________________        09/26/2022
                                                               Date: ________________________________________

                         Brian A. Glasser
Attorney’s Printed Name: __________________________________________________________________________________

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).         ✔ No _____
                                                                                                           Yes _____

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THE BAILEY GLASSER APPELLEES
                                              Middle
         Last Name           First Name       Name
Aldarondo               Tony
Allen                   Desmond
Alpen                   Masayuki
Alvarez                 Ernie                 Anthony
Andersen                Brandon
Angier                  James                 David
Arnold                  Jeffrey               Lee
Attoe                   Dylan                 J
Austin                  Alan
Austin                  Justin
Austin                  Samuel
Avila                   William
Baccaire                David
Baisden                 Nicholas              R
Baker                   Brett
Bales                   Joleen
Balkcom                 Steve

Bamberg                 Darrel
Banas                   Joseph
Barrett                 Morgan                Thomas
Barry                   Robert
Batchelor               Lance
Bennett                 David
Bentley                 Troy
Bernal                  Daniel                Anthony
Berry                   Ricardo
Blanton                 Justin                Aaron
Bledsoe                 Shannon               Dale
Bordes                  John                  Horace
Borrud                  Bryan
Borzek                  Brian
Bostick                 Michael
Braddock                Val
Branson                 Charlie
Bridges                 Jack
Bridges                 Robert
Brietz                  Edwin                 Blake

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                                            Middle
Last Name               First Name          Name
Brown                   Malcom              Terrell
Bruce                   Leonard             Harold
Bruner                  Nathan              Gerald
Bryant                  Dwan
Buck                    Albert
Burka                   Ryan
Burt                    Andrew
Burton                  Alexander
Butler                  Donald
Calloway                Davon
Canell                  Edward              Vincent
Capouch                 Bryon
Cardone                 Todd
Carlson                 Benjamin
Carrell                 David               Allen
Carter                  Christopher         Terence
Caruso                  David               Andrew
Carwile                 Stephen
Cathey                  Horace, Jr.         C
Chan                    Phillip
Chelune                 Michael
Church                  Brandon
Clark                   Kenneth
Clements                Jaysen
Cortez, Jr              Jose                de Jesus
Cowden                  Michael
Cox                     David
Crowder                 Dustin
Cruz                    Pedro               J
Cuen                    Anthony
Cummings                Adzil               Olvis
Daugherity              Alexander           Scott
Davidson                Ryan                James
Davis                   Terrence            Christopher
Dawson                  Chris
Deis                    Ryan                Murphy
Delatorre               Julio
Delgadillo              Michael
Dennis                  Angela              Ann
Dewberry                Joseph              William
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                                            Middle
Last Name               First Name          Name
Diaz                    Porfirio
Dick                    James               Donald
Dixon                   Randy               Ray
Dobson                  Gregory
Duey                    Jason               Scott
Dupree                  Brandon             Kyle
Duvall                  Jeffrey             T
Eagle                   Ronald              Lee
Espinosa                Harold
Etherton                Camran
Exley                   Brandtley
Farmer                  David               Michael
Farmer                  Marques             Dewayne
Feron                   Corey               Andrew
Field                   Ethan
File                    Renaldo
Fine                    Thomas
Fisher                  Brandon
Ford                    Byron
Ford                    Gregory             Richard
Ford                    Patrick             Ryan
Ford                    Warren              Bale
Foster                  Tyrone
Fox                     Jared
Gay                     Thomas              Allen
Getman                  Andrew              P
Gilbeau                 Garrett
Gonzalez                Andres              Felipe

Gonzales‐Bernard        Carlos
Goodwin                 Derek               Wayne
Gooley                  Timothy
Gordon                  Gregory
Goudy                   Justin              Andrew
Graddy                  Brian               L
Graff                   Jason               Timothy
Grant                   Roderick            Darell
Gray                    Marcus              Allen
Green                   Christopher         R
Green                   David
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                                            Middle
Last Name               First Name          Name
Grimes                  Michael             John
Gruszie                 Carey
Hall                    Peter               A
Haraldson               Sean                Henry
Harmon                  Freddie
Harris                  Alonzo              Alexander
Harris                  Antuan
Havir                   Scot                A
Hayden                  Andrew
Heindel                 Brent
Hellmich                Tyler
Henderson               Joseph              Todd
Herald                  Austin
Herbert                 Joseph              Bailey
Hernandez               Eric
Hicks                   Jacob               William
Hillery                 Forrell             M
Hirschler               Ayron
Hoffman                 Thomas              L
Holt                    Nathan              Allen
Hooks                   Roger               Lee
Hoosier                 Lauren              Wing
Hoppas                  Kelsey
Horsford                Rahun
Horton‐Fisher           Josef               A
Howard                  Matthew             David
Hudson                  Lucas
Jermark                 David               Kent
John                    Natasha             Ann
Johnson                 Jeff
Johnson                 Edward
Jones                   Terrel
Juarez                  Daniel
Knight                  Jason
Lagud                   Lawrence
Lake                    William             John
Lamb                    Scott
Lass                    Paul                Eugene
Lattimer                Margaret
Lawrence                James
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                                                Middle
Last Name                First Name             Name
Lee                      Chad
Lewis                    Bradley                Keith
Lizyness                 Joseph                 Bradley
Loos                     Justin
Lopez                    Wilkins                Martinez
Loveless, Jr.            Van                    Curtis
Lowther                  Christopher
Lundy                    Jeffrey
Lyons                    Bobby

Lyszaz                   Joseph
Lyttle                   Darrell                Richard
Mackay                   Christopher
Maggard, Jr.             Thomas ("Tommy")       Reed
Malena                   Anthony
Malone                   Celise
Mantz                    Christopher
Martin                   Robert
Martin                   William                Luke
Martinez                 Varon                  Maldonado
Martinez                 Jesus
Matheson                 Christopher            Charles
McDowell                 Daniel
McKimmie                 Patrick
McLean                   Teal                   Murphy
McRoberts                Thomas
Meierer                  Louis
Mendez‐Quinonez          Miguel                 Alonzo
Mendoza                  Robert
Metoxen                  Joseph
Meyer                    Austin                 Robert
Meyer, Jr.               David
Miller                   Joshua                 Alec
Miller                   Todd                   Douglas
Mitchell                 MD
Montana                  Joseph
Moore                    Stephen                Roy
Moorehead                Robert
Morris                   John
Neveu                    Todd
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                                           Middle
Last Name              First Name          Name
Nolen                  William
Noles                  Jordan              Marquis
Nuckolls               Gerald
Ocampo                 Carlo
Ochoa                  Rodolfo
Olson                  David               William
Padilla                Mark                Gaspar
Page                   Joseph
Parrish                Jason               Edward
Payne                  Charlie
Pendleton              William             Travis
Pene                   Jacob               Brennan
Pennepacker            Tadd
Percival               Robert              Sumner
Perrier                Antoine             Vincent
Perrotta               Robert
Perry                  Jason
Perry                  Travis
Peterson               Daniel              Joseph
Phillips               Christopher         Jon
Phillips               Scott
Phu                    Danny
Pieroni                Joseph
Pitre                  James
Potter                 Aaron               Robert
Poullard               Yolanda             Kaye
Prince                 Kenneth             Lamar
Purvis                 Andrew              Michael
Quirk                  Darrell             Raymond
Ray                    Joshua
Raymond                Joel                Avi
Ricord                 Michael             Silva
Rinker                 Curtis              Thomas
Rios                   Sergio              Mauricio
Riosbaez               Luis                Lorenzo
Rodgers                Alexander           Leo
Roesch                 Robert              Michael
Ronningen              Scott
Rothweiler             Matthew             Bryan
Rowland                Michael
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                                            Middle
Last Name               First Name          Name
Rybarczyk               James               Leonard
Sanders                 Patrick             Alexander
Sasaki                  Hiro                Dewayne
Schlemmer               Shaun
Seelbinder              Thomas              Scott
Sharpen                 Gary
Sharratt                Justin
Shaw                    Kenneth
Shero                   Tyson               Richard
Short                   Billy
Sidley                  Mark                David
Simmonds                Kelly               Ray
Simmons                 Evelyn              Renee
Smith                   Peter
Spencer                 Darrell
Spencer                 Monterrio           Denzel
Spencer, II             Rocky               Lee
Spratt                  Cynthia
Steele                  Prentiss            Fulton
Stone                   Cody                Dane
Storey                  Christopher         Paul
Storey                  Devin
Streeter                David               Baldwin
Tafoya                  Timothy             Brian
Talbot                  Jason
Tarpen                  Jeffrey             Richard
Taylor                  Sean
Terrell                 Winston             D
Tilton                  Verle               Ryan
Timmons                 Bryan               Thomas
Touchstone              Jaymz
Touchstone              Jeremy
Townsend                Brian               Keith
Troublefield            Franklin            Dominic
Vasquez                 Angelo
Vaughn                  Sanders             Theodore
Vetland                 Lars
Vogt                    James
Volker                  Jason               William
Ware                    Charles
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                                            Middle
Last Name               First Name          Name
Washington              Brandon             Demetrius
Watson                  Matthew             Scott
Weir                    Micah               Paul
Wellmon                 Kevin               ERLE
Wernke                  Gregory             John
West                    David               L
Whittington             Nickolas            Lance
Williams                Darnell             Lamar
Williams                Todd                Robert
Williams                Billy
Wilson                  James
Wise                    Christopher
Worzalla                Thomas
Wren                    Anthony             Elijah
Yarbrough               Clifford
Young                   David               Allen
Abendroth               Eric                Ryan
Baker                   Roderick            James
Belling                 David
Beltran                 Juan
Berry                   Travis              David
Burch                   Clinton
Cassick                 Thomas
Clark                   James               Lamar
Daniel                  Jason               Lane
DeLeon                  Jerry
Deubel                  Richard             Edward
Dimick                  John
Dove                    Joseph
Farmer                  Nicole
Fuller                  Matthew
George                  Danny
Gonzales                Joe
Gordon                  Charles             Robert
Gottschalk              Sidney
Grandstrom              Jamus               Jacob
Gravel                  Mark                Joseph
Guillory                Scott               Earl
Gutierrez               Adam
Hambright               Kenneth
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                                           Middle
Last Name              First Name          Name
Hartog                 Jace
Huertas, Jr            Miguel              Angel
Jackson                Dale                Forest
Jessee                 Mark
Labonte                Christopher
Lewing                 Timothy
Lockett                Angela              Zaranette
Lockett                Ernest              Leon
Mateo                  Samuel
Mathews                Joshua
McLean                 Arthur              Cam
Montgomery             Chad                Taylor
Moore                  Roger               Keith
Myllenbeck             Corey
Neal                   Daniel
Oliver                 Patrick
Owens                  Timothy
Patterson              Tony
Pearce                 Mike                Lawrence
Pentek                 Zachary             Alexander
Perry                  James
Porto                  Roosvelt            Marcelino
Ragucci                John
Ratliff                Stephen             C
Releford               Ellington           Delano
Robinson               Terrence            DeVon
Robinson               Terry
Saylor                 Christopher
Servin                 Octavio             Loera
Sitton                 Evan
Smith                  Harry               William
Smith                  Terry               Emmett
Sterling               Tyler
Taylor                 Robert              Eugene
Underwood              McArthur Jr.
Williams               Marrio              Dionnie
Woods                  Dewayne
Turman                 Jesse               Bernard
Twitty                 James               Austin


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                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

Appellate Court No: 22-2606
                    _______________

               3M Occupational Safety LLC vs. Those Parties Listed on Appendix A to the Complaint, et al
Short Caption: _________________________________________________________________________________________

   To enable the judges to determine whether recusal is necessary or appropriate, an attorney for a non-governmental party, amicus curiae,
intervenor or a private attorney representing a government party, must furnish a disclosure statement providing the following information
in compliance with Circuit Rule 26.1 and Fed. R. App. P. 26.1.

   The Court prefers that the disclosure statements be filed immediately following docketing; but, the disclosure statement must be filed
within 21 days of docketing or upon the filing of a motion, response, petition, or answer in this court, whichever occurs first. Attorneys are
required to file an amended statement to reflect any material changes in the required information. The text of the statement must also be
included in the front of the table of contents of the party’s main brief. Counsel is required to complete the entire statement and to use
N/A for any information that is not applicable if this form is used.

          [     ]   PLEASE CHECK HERE IF ANY INFORMATION ON THIS FORM IS NEW OR REVISED AND
                    INDICATE WHICH INFORMATION IS NEW OR REVISED.

(1)       The full name of every party that the attorney represents in the case (if the party is a corporation, you must provide the corporate disclosure
          information required by Fed. R. App. P. 26.1 by completing item #3):
          Charles Rataj and Keller Postman LLC
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(2)       The names of all law firms whose partners or associates have appeared for the party in the case (including proceedings in the district court or
          before an administrative agency) or are expected to appear for the party in this court:
          Keller Postman LLC
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(3)       If the party, amicus or intervenor is a corporation:

          i)        Identify all its parent corporations, if any; and

                    N/A
                    ________________________________________________________________________________________________

          ii)       list any publicly held company that owns 10% or more of the party’s, amicus’ or intervenor’s stock:

                    N/A
                    ________________________________________________________________________________________________

(4)       Provide information required by FRAP 26.1(b) – Organizational Victims in Criminal Cases:

          N/A
          ________________________________________________________________________________________________________

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          The Debtors are wholly-owned subsidiaries of non-Debtor 3M Company
          ________________________________________________________________________________________________________



                      /s/ Ashley C. Keller
Attorney’s Signature: ________________________________________       December 1, 2022
                                                               Date: ________________________________________

                         Ashley C. Keller
Attorney’s Printed Name: __________________________________________________________________________________

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E-Mail Address: __________________________________________________________________________________________________
                                                                                                                                          rev. 12/19 AK
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                           JURISDICTIONAL STATEMENT

       The jurisdictional statement of the appellant is complete and correct.


                                   INTRODUCTION

       This is a straightforward case, despite Appellants’ efforts to turn it into

something complex. The bankruptcy court held a three-day evidentiary hearing and

made a factual determination that litigation against the nondebtor, 3M Company,

poses no risk to Debtor Aearo’s bankruptcy estates. That factual finding was amply

supported by the evidence, and certainly did not constitute clear error. The district

court overseeing the underlying MDL independently reached the same conclusion

and ruled that 3M (Aearo’s parent company) is solely, directly, and independently

responsible for the Appellees’ claims. As the district court overseeing the MDL also

found, the eve-of-bankruptcy effort to force Aearo to indemnify 3M for such liabilities

fails to create any identity of interests.

       That simple fact—that litigation against 3M will not jeopardize Aearo in any

way—is the unassailable foundation for the bankruptcy court’s sound ruling.

Accordingly, there is no reason for this Court to accept Appellants’ invitation to wade

into any debate about the appropriate standard for third-party injunctions or stays

of litigation under sections 105(a), 362(a)(1) and 362(a)(3) of the Bankruptcy Code.

That standard has no consequence here: whatever it might be, Appellants’ evidence

below failed to meet it.

       The bankruptcy court’s findings that Aearo’s bankruptcy estates and their

creditors will suffer no harm even though litigation proceeds against 3M rest on firm
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evidentiary grounds. 3M, a Fortune 100 company and a nondebtor in bankruptcy,

entered an agreement with Aearo promising to provide uncapped funding to cover all

of Aearo’s liabilities. Though Aearo purported to “indemnify” 3M in return for 3M

indemnifying them, that promise costs Aearo precisely nothing to keep. Under the

express terms of the agreement, 3M itself must fund Aearo’s indemnity obligations

back to 3M, round-tripping the money from 3M to Aearo right back to 3M. The assets

of the estates are entirely unaffected. 3M’s obligations to Aearo are unconditional:

the uncapped funding does not turn on whether litigation against 3M is stayed, the

outcome of that litigation, or the performance of Aearo’s or 3M’s core operations.

       Even aside from the Funding Agreement’s assurances that the Aearo estates

cannot be harmed, Aearo has at all times been operationally profitable, with no

employees involved in the MDL litigation, and 3M paying for all litigation costs. As

one 3M employee testified, it was as if Aearo did not even exist for purposes of the

MDL.

       So one might ask why 3M caused its wholly-owned subsidiaries to file for

bankruptcy protection and immediately seek to enjoin litigation against 3M, a

nondebtor. The answer is clear. As both the bankruptcy court and the district judge

overseeing the MDL recognized, 3M and Aearo are not actually concerned about

restructuring Aearo or an equal-treatment of creditor problem, but instead are hoping

to use the Bankruptcy Code to gain leverage and change forums after the years-old

MDL resulted in verdicts 3M did not like.




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      In their Informational Brief filed concurrently with the injunction motion, and

in nearly all other pleadings, Aearo excoriated the MDL and the MDL judge,

dedicating pages of briefing to complaining about the MDL judge’s rulings. Bk.12 at

20–52.1 As Appellants, Aearo now omits this cringe-worthy attack. Nonetheless, the

Informational Brief reveals much about Aearo’s (and 3M’s) motives: forum shopping

and derailing an MDL that is not playing out as they hoped it would. In their

submission here, Appellants try to extend this strategy by seeking to use the

Bankruptcy Code to halt litigation against a nondebtor despite the absence of any

evidence that such litigation would adversely impact the Debtors. Unsurprisingly,

neither the Bankruptcy Code nor the decisions of this Court countenance such a

gambit. The decision below should be affirmed.




      1    “Bk.[Dkt.#] at __” refers to the docket of the Bankruptcy Court of the
Southern District of Indiana, No. 1:22-bk-02890; “Bk.Adv.[Dkt.#] at __” refers to the
docket of the related adversary proceeding, No. 1:22-ap-50059; “MDL.[Dkt.#] at __”
refers to the docket of the MDL case in the Northern District of Florida, No. 3:19-md-
02885-MCR-GRJ; “JPML.[Dkt#] at __” refers to Case MDL No. 2885 before the
Judicial Panel on Multidistrict Litigation; “SA” refers to Appellants’ short appendix;
“A” refers to Appellants’ separate appendix; “Br.” refers to the Opening Brief for
Debtors-Appellants (Dkt. 31); “CA” refers to the Committee’s Supplemental
Appendix.


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                             STATEMENT OF ISSUES

      Whether the bankruptcy court committed clear error finding, after an

evidentiary hearing, that litigation against nondebtor 3M Company would have no

material adverse effect on the Debtors’ estates or their creditors.

                           STATEMENT OF THE CASE

A.    The Parties To This Appeal And 3M

      The Appellees are hundreds of thousands of current and former members of

the United States armed forces, many of whom served in combat in Iraq and

Afghanistan, who claim that the Combat Arms Earplug Version 2 (the “CAEv2”)

caused each of them physical injury. Beginning in late 2018, they began bringing

claims against 3M and, in many instances, Aearo, seeking compensation for the

harms caused by the defective CAEv2 earplug, after a qui tam settlement between

3M and the government regarding the CAEv2 brought the defects to light.

Bk.Adv.143 at 5; SA.5.

      3M, a Fortune 100 company, wholly owns, and is the ultimate parent of, each

of the Aearo Entities. Even though it caused its subsidiaries to file for bankruptcy

and desired the benefit of a stay of litigation against it, 3M itself did not file for

bankruptcy.

B.    Aearo Knowingly Sells The Defective CAEv2 Earplug To The U.S.
      Military

      One of the products Aearo developed and manufactured was the CAEv2. It was

marketed as a means of protecting the hearing of military personnel, who are

regularly exposed to dangerous levels of noise in training and combat. But as a July


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2000 internal Aearo report known as the Flange Report forthrightly documented, the

CAEv2 suffered from significant defects that rendered them largely ineffective.

A.116–29 ¶¶ 67–99. Despite knowledge of this flaw, which put the hearing of

hundreds of thousands of service members at risk, Aearo continued to sell the

product. A.152 ¶ 141.

C.    3M Acquires Aearo In 2008, “Upstreams” The Business In 2010, And
      Continues To Sell CAEv2 Earplugs To The Military Until Its
      Competitor, Moldex, Discovers The Fraud

      3M purchased the stock of the Aearo Entities on April 1, 2008. Bk.Adv.128 at

65:8–10. Following the 2008 acquisition, 3M and the Aearo Entities entered into a

Shared Services Agreement (the “Shared Services Agreement”), Bk.Adv.143 at 4–5;

SA.4–5, by which 3M took control of essentially all functions of Aearo’s hearing

protection business, as well as “back-office” functions such as finance, accounting,

treasury, insurance, human resources, procurement, IT, and legal. Bk.Adv.128 at

67:21–69:1. The payment obligations under the Shared Services Agreement do not

change depending on how much 3M incurs in litigation defense costs for itself and for

Aearo. Bk.Adv.128 at 157:10–12. 3M has never charged Aearo under the Shared

Services Agreement through the entirety of the MDL that 3M directed Aearo to seek

to stay via the bankruptcy process. Bk.Adv.128 at 159:11–16.

      In 2010, 3M caused Aearo to “upstream” its CAEv2 Earplug business, in

addition to other assets, to 3M (the “Upstream”). Bk.Adv.128 at 74:21–75:22, 173:6–

12. All CAEv2 business personnel became 3M employees, Bk.Adv.136 at 147:2–7, and

those who ran the business did not know that Aearo even continued to exist after that



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process, Bk.Adv.136 at 118:15–119:8, 125:23–126:2. The Upstream generated a

receivable on Aearo’s books of approximately $965 million, which has never been

paid. Bk.Adv.143 at 4; SA.4.

      After the 2010 Upstream, 3M continued to make, market, and sell CAEv2

earplugs to the military. Bk.Adv.136 at 136:4–7, 139:20–140:5, 140:14–17, 146:15–

21, 146:7–14. 3M stopped doing so only after a litigation opponent, Moldex,

introduced at deposition reports from 3M’s internal files indicating that former Aearo

(and now-3M) employees fraudulently altered labeling test results for the product.

Bk.Adv.136 at 152:8–155:6.

D.    CAEv2 Earplug Litigation And The MDL

      1.     The Earplugs Litigation Begins With A Qui Tam Action Relating To
             3M’s Misconduct

      Shortly after 3M stopped selling the CAEv2 earplugs in 2015 in response to

the discovery of its fraud, Moldex filed a qui tam action, United States ex rel. Moldex-

Metric, Inc. v. 3M Company, No. 3:16-1533 (D.S.C. May 12, 2016), alleging that 3M

defrauded the government by misrepresenting the CAEv2’s safety metrics.

      The United States intervened, and the parties subsequently settled the case

on July 25, 2018 (the “Qui Tam Settlement”). United States ex rel. Moldex-Metric v.

3M Company, No. 3:16-1533, ECF No. 23 (D.S.C. July 25, 2018). Aearo did not pay or

account for any portion of the Qui Tam Settlement. Bk.Adv.128 at 177:5–8;

Bk.Adv.137 at 55:3–7. Rather, 3M paid the entire Qui Tam Settlement amount.

Bk.Adv.128 at 177:5–8; Bk.Adv.137 at 55:3–7.




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        2.    Military Servicemembers Sue 3M And Aearo, And The Cases Are
              Consolidated Into The MDL

        When the Qui Tam Settlement brought the evidence to light, servicemembers

who had suffered hearing loss or tinnitus after using the defective earplugs filed

lawsuits seeking recovery for their injuries. Those lawsuits always named 3M, and

also often named the Aearo Entities.

        At 3M’s urging, the United States Judicial Panel on Multidistrict Litigation

consolidated all CAEv2 earplug-related lawsuits before Judge M. Casey Rodgers of

the United States District Court for the Northern District of Florida (the “MDL

Court”), Case No. 3:19-MD-2885. Bk.Adv.122 ¶ 1; A.90 ¶ 1.2 3M “support[ed]

centralization of the more than two hundred Combat Arms Earplug actions that have

been filed against it [], and the ‘thousands’ of additional similar cases plaintiffs’

counsel have stated they intend to file in the future,” because, it said, multidistrict

litigation serves to coordinate “civil actions involving one or more common questions

of fact” and “promote the just and efficient conduct of such actions.” JPML.98 at 1, 5–

6.

        Starting in 2019, the MDL Court oversaw what has now become the largest

MDL in U.S. history. In that role, the MDL Court presided over extensive discovery

that spanned multiple years, decided hundreds of motions, including dozens of




2    In addition, nearly 2,000 cases have been filed in state court in Minnesota against
     3M and Aearo related to CAEv2 Earplugs by consumers and government
     contractors. Those cases have been consolidated before a single judge in the
     District Court of Hennepin County (the “Minnesota Litigation”). A.149 ¶ 134.


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Daubert and summary judgment motions each, and conducted or coordinated with

other judges in the Northern District of Florida, to conduct 16 bellwether trials with

19 separate verdicts (because two bellwether trials consolidated multiple plaintiffs’

claims). MDL.3610 at 6–7.

      The net result of the bellwether process was 13 verdicts in plaintiffs’ favor.

MDL.3610 at 7. In each case, 3M listed itself as a potentially fully-liable party and

never sought to apportion liability between itself and its Aearo subsidiaries.

MDL.3386 at 4. In order to reduce the damages it would have to pay, 3M also

successfully argued in post-trial briefing that any supposed differences between it

and Aearo were “illusory” and that they were, in fact, one single defendant. MDL.3610

at 14–15.

      3.     3M Pays All MDL Fees And Costs, And Posts All Bonds On Appeal

      3M incurred approximately $347 million in fees and expenses defending the

MDL litigation, but did not charge Aearo any of those costs (and Aearo itself has paid

nothing). Bk.Adv.128 at 155:12–20; Bk.Adv.136 at 186:17–187:4. In fact, 3M has

attempted to collect for itself (not Aearo) MDL litigation expenses under insurance

policies issued to Aearo. Bk.Adv.128 at 247:25–248:20; CA.361.

      3M could not identify “any intercompany charge whereby 3M Company has

debited to any of the Aearo Entities a single penny of the $347 million spent defending

CAEv2 litigation.” Bk.Adv.136 at 187:5–22. Nor did 3M chargeback Aearo for any tort

liability after 2010. Bk.Adv.128 at 214:1–10. 3M, not Aearo, posted every appeal bond

in the few appeals pending in the MDL. Bk.Adv.136 at 187:23–188:1. And 3M never



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sought reimbursement for the costs of these surety bonds from Aearo. Bk.Adv.136 at

188:4–6.

E.    3M Implements “Project Crane” To Manage Its MDL Liability Risk
      Through An Aearo Chapter 11 Bankruptcy Filing

      In March 2022, 3M’s General Counsel, Kevin Rhodes, assembled a team of 3M

executives (but no Aearo executives) to work on “Project Crane,” which was intended

to explore “strategic alternatives to managing 3M’s litigation.” Bk.Adv.136 at 179:15–

181:17, 185:4–11; CA.519. No director, officer, or employee of any of the Aearo

Entities was assigned to or participated in the Project Crane team. Bk.Adv.136 at

180:12–14.

      By March 2022, the majority of the MDL bellwether trials were completed and

the MDL Court began issuing “wave orders” to prepare cases for remand to their

original district courts. Bk.Adv.136 at 181:19–24. 3M faced mounting defense costs

and the risk that the large judgments issued against it would increase, because the

MDL was near its end.

      Over the next several months, 3M’s General Counsel and its outside advisors

provided periodic updates to 3M’s Board of Directors (“3M’s Board”) about the CAEv2

litigation and the progress of the Project Crane initiative. Bk.Adv.136 at 180:12–

181:8; CA.504–05, 510, 519–20, 531. On July 22, 2022, 3M’s Board received “an

update on MDL court-order mediation and settlement discussions.” Bk.Adv.136 at

184:3–17. The next day, 3M’s Board received a presentation on “potential subsidiary

chapter 11 proceedings,” a “potential funding and indemnification agreement,” and

the sufficiency of “$1 billion in trust funding.” Bk.Adv.136 at 185:12–16; CA.520.


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F.    With The 3M Board’s Blessing, 3M And Aearo Enter Into The Funding
      Agreement

      Two days after the July 23, 2022, 3M Board meeting, the Aearo Entities and

3M entered into what has become known as “the Funding Agreement.” Bk.Adv.143

at 9; SA.9; see also A.275. Michael Dai signed for 3M, and Jeffrey Stein, an

“independent director” selected by 3M’s counsel, signed for Aearo. A.295–97. The first

draft of the Funding Agreement pre-dated the appointment of the “independent

director,” Bk.Adv.128 at 148:10–17; CA.370, and underwent revisions over the next

several weeks.

      1.     Aearo Agrees To Indemnify 3M For All CAEv2 Liabilities—But 3M Must
             Fund The Indemnity

      The Funding Agreement obligates Aearo to indemnify 3M for all CAEv2

liabilities, whether or not those liabilities related to Aearo’s conduct. Br.12. But the

indemnity obligation’s “net effect to Aearo is zero” because § 2(d) of the Funding

Agreement Aearo can       indemnify 3M “by asking 3M for the money to do so.”

Bk.Adv.143 at 10; SA.10. The obligation is, as two federal courts have now held,

entirely illusory. Bk.Adv.143 at 10 n.5; SA.10 n.5; MDL.3610 at 8 n.9. “In essence,

Aearo is able to ask 3M for the funds required to pay Aearo’s indemnity obligation

to . . . 3M. This does seem to be a circular arrangement as the Objecting Parties

argue.” Bk.Adv.143 at 31; SA.31.

      2.     3M Agrees In The Funding Agreement To Fund All Of Aearo’s Possible
             Liabilities

      3M agreed in the Funding Agreement to provide uncapped funding, to pay all

of Aearo’s liabilities whenever Aearo’s assets or income are, or are projected to be,


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insufficient—and whether based on CAEv2-related liability or not. A.281–82, 284–85

(defining “Permitted Funding”). This uncapped funding exists whether Aearo is in

bankruptcy or outside of bankruptcy.

       The Funding Agreement’s definition of “Commitment” states that “the

Commitment does not serve as a cap on [3M’s] funding obligations or otherwise limit

[3M’s] Payments under the terms of this Agreement.” A.278. Both signatories to the

Funding Agreement confirmed under oath that 3M’s “uncapped” obligation to pay all

liabilities includes CAEv2 claims. Bk.Adv.136 at 171:5–19, 173:19–174:4 (Mr. Dai);

Bk.Adv.136 at 270:13–271:4, Bk.Adv.137 at 51:7–12 (Mr. Stein).

       3.     3M’s Funding Obligations Are Non-Recourse And Not Conditioned On
              Any Imposition Of A Stay Against 3M In The MDL, Minnesota, Or
              Anywhere Else

       3M is obligated to fund all of Aearo’s liabilities, but 3M has no recourse against

Aearo for funding it provides to Aearo in order for Aearo to pay indemnity owed to

3M. A.285 (“No Requirement of Repayment” at § 2(d)).3 Although Appellants suggest

that there is a “priority” or “hierarchy” of assets that must be used before 3M’s

funding obligation arises, Br.66–67, the plain terms of the Funding Agreement

impose no particular sequence in which assets must be utilized before Aearo can

request funding from 3M. 3M must fund projected shortfalls even before Aearo has

utilized all of its assets. Bk.Adv.143 at 31.




3   The conditions to funding are set forth in the proviso in Section 2(b). A.284. These
    conditions were heavily negotiated. Bk.Adv.136 at 174:14–175:2.


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        Nor are 3M’s obligations under the Funding Agreement conditioned on Aearo

seeking bankruptcy protection, or a stay of litigation against 3M. Bk.Adv.143 at 11;

SA.11; A.285 (“Conditions to Payments” at § 2(e)); Bk.Adv.136 at 174:10–13, 227:19–

228:11. The Funding Agreement protects Aearo fully in the absence of a stay of

litigation against 3M.

G.      Aearo Files For Bankruptcy, Premised On The Argument That The
        MDL Is “Broken,” And Immediately Seeks To Enjoin Litigation
        Against 3M

        One day after entering the Funding Agreement, Aearo filed for bankruptcy.

Simultaneously, it filed an adversary proceeding seeking to enjoin the MDL and the

Minnesota Action against 3M.

        In its first “informational brief” filed on the day it sought bankruptcy

protection, Aearo harshly criticized the MDL process and the MDL judge in an effort

to justify the purported need for bankruptcy protection and a stay of litigation against

3M, even though 3M itself was not seeking bankruptcy protection. Bk.12 at 57.

        The bankruptcy court then conducted a three-day evidentiary hearing from

August 15–17, 2022, to decide the preliminary injunction request.

        1.    The Evidence Before The Bankruptcy Court

        At the evidentiary hearing, seven witnesses testified: John Castellano (Aearo’s

Chief Restructuring Officer),4 Christopher Sullivan (3M’s insurance manager), Brian




4    Mr. Castellano was appointed as the Chief Restructuring Officer just days before
     the bankruptcy filings; prior to that appointment, he was a financial advisor to
     both 3M and Aearo. Bk.11 ¶¶ 2, 4.


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Myers (3M officer, but formerly an Aearo employee), Jeffrey Stein (“independent”

director), Michael Dai (3M officer), and Dr. J.B. Heaton (expert). Mr. Dai testified in

his capacity as a corporate representative of 3M, but was called as an adverse witness

in support of the Joint Claimant Objection. Dr. Heaton testified as an expert witness

in support of one of the objecting parties. All other witnesses testified for Aearo in

support of the Injunction Motion. No Aearo employee testified in support of the

injunction.

      In addition to this testimony, the bankruptcy court admitted into evidence

numerous exhibits, took judicial notice of various filings in the MDL, and accepted

stipulated facts. See generally Bk.Adv. 128, 136, 137. Beyond the evidence that came

in regarding the Funding Agreement, the evidentiary hearing yielded additional

evidence discussed below.

              (a)   3M, not Aearo, handled all aspects of its “shared” insurance

      3M manages two insurance programs covering the CAEv2 Earplug claims: (i)

the 3M Tower Program and (ii) the Aearo Legacy Program. Bk.Adv.128 at 254:2–6;

CA.364–69.

      The available insurance coverage under the 3M Tower is $1.05 billion, and it

covers claims made against 3M and its subsidiaries, both domestic and foreign,

during the applicable policy period of March 1, 2018, to March 1, 2019. Bk.Adv.128

at 220:24–221:16, 222:10–223:8, 255:7–8, 256:19–25, 266:1; CA.248; CA.367. 3M pays

the premiums related to, and is the primary insured under the 3M Tower. Bk.Adv.128

at 220:24–221:16, 222:10–223:8, 255:7–8, 256:19–24; CA.248. Mr. Sullivan confirmed



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that the only claims pending against the 3M Tower are the CAEv2 claims.

Bk.Adv.128 at 257:10–12. He also confirmed that all coverage under the 3M Tower

remains available and free from competing demands. Id. at 240:1–4, 262:12–14. 3M

has not paid the $25 million retention required under the 3M Tower. Id. at 262:12–

22. And no payments for coverage under the 3M Tower are imminent. Id. at 263:22–

25, 264:1–2.

        Separately, the Aearo Legacy Program provides $550 million in coverage. The

insurance policies in the Aearo Legacy Program date from and cover “occurrences”

from 1997 to 2008; Aearo is the named insured. Id. at 265:7–13; CA.364.

        After 3M acquired Aearo, it was 3M that noticed claims to the insurers on June

28, 2019, Bk.Adv.128 at 267:1–3; CA.357; CA.358, and 3M was the only party to

collect the few payments issued under those policies (four checks of $1 million each).

Bk.Adv.128 at 267:19–25, 268:1–4; CA.361.5

        Mr. Sullivan testified that 3M has not collected one dollar under the Aearo

Legacy Program and none of the coverage under the Aearo Legacy Program has

eroded, nor are any payments to retain the insurance imminent. Bk.Adv.128 at

270:9–19, 271:1–4.




5   Liberty Mutual made these payments to 3M in partial payment of the Sloan verdict
    (an MDL bellwether). Bk.Adv.128 at 269:18–21; CA.361. Mr. Sullivan testified that
    3M currently holds the four checks in its vault. Bk.Adv.128 at 269:18–25.


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             (b)    3M can pay all of the Aearo Entities’ liabilities

      At the evidentiary hearing, the bankruptcy court heard that 3M is one of the

world’s largest multi-national corporations. CA.539. It produces some of the most

ubiquitous and well-known household and office products in the world, including

Scotch® tape and Post-it® notes. CA.538.

      The testimony established that 3M would be able to fund any and all payments

required under the Funding Agreement, Bk.Adv.143 at 25; SA.25, and that the

Funding Agreement provided a clear path to restructuring Aearo “even absent a stay

of the Pending Actions.” Id. at 12. The evidence also confirmed that regardless of what

liabilities Aearo faces, whether “in bankruptcy, outside of bankruptcy, stay in place,

or no stay,” Aearo can satisfy them simply by making a payment request under the

Funding Agreement. Id. at 32.

             (c)    The CAEv2 earplugs litigation never impacted Aearo’s business
                    in any way

      Aearo provided no evidence that the business had been impacted by the CAEv2

litigation, at any point in time. No Aearo employee or officer testified at the hearing.

Rather, Mr. Castellano, Aearo’s Chief Restructuring Officer (who had been

representing both 3M and Aearo days before the bankruptcy filing), testified. He

confirmed that no employee of Aearo had testified at any trial or deposition in the

MDL or had to collect or review documents in connection with the MDL. Bk.Adv.128

at 165:16–166:25. The same is true with respect to the Minnesota Litigation. Id. at

166:4–9.




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      During the time Mr. Castellano served as an advisor to Aearo, he saw no

operational distractions as a result of the MDL. Id. at 161:25–162:15. Throughout

pendency of the MDL, 3M continued to provide services under the Shared Services

Agreement. Id. at 162:16–23. At no time were 3M employees unable to help Aearo

under the Shared Services Agreement, id. at 163:7–15, nor would the MDL distract

them going forward, id. at 164:15–162:8, 193:7–18.

      Although Mr. Castellano testified that litigation would be a significant

distraction for certain 3M employees, he had no idea how much time any of the 3M

employees spent in connection with 3M’s defense of CAEv2 litigation. Id. at 103:16–

23, 191:17–19, 192:11–17, 193:7–15, 194:5–7, 21–25. Moreover, Mr. Castellano

admitted that the 3M employees have been able to perform their services to Aearo

under the Shared Services Agreement. Id. at 184:21–25.

H.    After Assessing The Evidence, The Bankruptcy Court Denies The
      Request For A Stay Or Injunction

      On August 26, 2022, the bankruptcy court issued its order denying Aearo’s

motion for preliminary injunction. In so doing, the bankruptcy court emphasized the

importance of one of its factual findings to each aspect of its decision: the fact that

the 3M litigation does not pose any risk to Aearo’s estates because “the Funding

Agreement provides for an uncapped, non-recourse commitment from 3M to fund all

of the Aearo Entities liabilities pre- and post-petition financing, including those

arising from CAEv2 claims and Respirator Claims.” Bk.Adv.143 at 31; SA.31

(emphasis in original). The bankruptcy court also considered and rejected each of

Aearo’s three claimed bases for relief in turn.


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      First, the bankruptcy court “decline[d] Aearo’s invitation to extend [the

automatic stay provided under] § 362(a)(1) to [nondebtor] 3M.” Id. at 22. The

bankruptcy court explained that while some courts of appeals have adopted

exceptions to § 362(a)(1)’s plain text that allow extension of stays to nondebtors in

“rare” and “unusual circumstances,” the Seventh Circuit is not one of them. Id. at 20–

21. In fact, the bankruptcy court noted, this Court has never applied an exception to

§ 362(a)(1) to permit a stay of litigation against a nondebtor. Id. at 21.

      But the bankruptcy court did not leave it there. Noting that courts often

conflate § 362(a)(1) (authorizing stays) and § 105(a) (authorizing injunctions) in

deciding whether to halt litigation against a nondebtor, the bankruptcy court stated

that rather than “extend § 362(a)(1) to 3M” it would “frame[] its analysis” relevant to

that claim “pursuant to the Court’s authority to issue injunctive relief under § 105(a).”

Id. at 22. The bankruptcy court concluded in that context that because the “actual

economic effect” of the 3M litigation on Aearo is non-existent, relief under § 105(a)—

and thus § 362(a)(1)—is not appropriate. Id. at 35.

      Second, the bankruptcy court “disagree[d]” with the contention that

§ 362(a)(3)’s automatic stay extended to 3M because the 3M litigation was

purportedly an effort to “exercise control over” two insurance policies shared by Aearo

and 3M. Id. at 23. While the bankruptcy court assumed that the insurance policies

qualified as “property” of Aearo’s bankruptcy estates, it found that there was “no

evidence” of any “direct efforts” to exercise control over the insurance policies. Nor

was there any “threat of inequitable distribution of insurance proceeds” from the



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policies given that “3M will fully fund any liability incurred by Aearo relating to the

[3M litigation] pursuant to the Funding Agreement.” Id. at 23–26. The bankruptcy

court described its evidentiary determination succinctly: “[T]apping the insurance

policies to cover any liability incurred in the [3M litigation] does not affect the amount

of money Aearo can pay its creditors because the Funding Agreement covers all

claims arising from the [3M litigation] in the absence or exhaustion of the applicable

insurance.” Id. at 26.

       Third, the bankruptcy court declined to use its equitable authority under

§ 105(a) to enjoin the 3M litigation. The bankruptcy court explained, first, that it

lacked “related to” subject matter jurisdiction to issue an injunction under § 105(a)

because it could not “conclude that continuation of the [3M litigation] will affect the

amount of property for distribution or the allocation of property among creditors.” Id.

at 28–32. However, the bankruptcy court also confirmed that even if it did have

jurisdiction, it would “reach the same conclusion” because Aearo failed to show that

an injunction is “necessary or appropriate” given that the Funding Agreement

ensures that the 3M litigation will have no “actual economic effect” on distributions

to Aearo’s creditors. Id. at 35.

I.     Subsequent Events

       Appellants devote several pages of their Opening Brief to events occurring

after the bankruptcy court denied the Injunction Request. Br.18–19. Two much more

significant post-ruling developments warrant discussion here.




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       1.    Aearo’s Financial And Operational Performance Has Been Completely
             Unaffected By The Denial Of The Injunction Request

       At no point since the bankruptcy court denied the preliminary injunction

request has Aearo filed a document in the bankruptcy indicating its business has

been adversely impacted by the denial. Rather, Aearo continues to be operationally

profitable. See Bk.818 at 17; Bk.948 at 5; Bk.1025 at 1.6

       2.    The MDL Court Bars 3M From Disputing Its Full And Independent
             Liability For CAEv2-Related Claims

       On December 22, 2022, the MDL Court issued an order granting summary

judgment in favor of plaintiffs and against 3M on the issue of its full and independent

responsibility for any proven liability associated with the CAEv2. See MDL.3610. The

order also stayed the entirety of MDL proceedings pending an interlocutory appeal of

the order, which is currently underway. Id. at 22.7

       The district court ruled that 3M’s post-bankruptcy filing efforts to blame Aearo

for CAEv2-related liabilities is a bad faith about-face, and imposed sanctions as a

result. The court noted that 3M had presented itself as the real party in interest—at

the beginning of the case and over the next three-and-a-half years of litigation,

through 16 different bellwether trials, in post-trial briefing, and in actions before the

Eleventh Circuit—and had represented that it would never raise a successor liability




6   But for the costs of the bankruptcy itself, Aearo has earned millions in net cash
    flow.
7   In a round-about way, 3M has obtained the very stay of litigation in the MDL,
    except that it was the MDL court that sua sponte ordered a stay pending resolution
    of any appeal of its order granting summary judgment by the Eleventh Circuit.


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or other wrong-party defense. Id. at 10–15. The MDL Court further found that it was

only after 3M implemented Project Crane, its bankruptcy-based “liability

management” project, that it changed course and took steps to shift all liability to

Aearo, including the eve-of-bankruptcy indemnification obligations inserted into the

Funding Agreement. Id. at 8–9. On these bases, the MDL Court has precluded 3M

from trying to place blame on Aearo in any and all future CAEv2-related trials (while

leaving all other defenses intact). Id. at 21.

       Notably the MDL Court found, just as the bankruptcy court did, that by virtue

of the Funding Agreement, continued litigation against 3M does not harm and cannot

harm Aearo’s bankruptcy estates:

       [A]s the bankruptcy court recognized, the flaw in this orchestrated
       extraction is that the agreement is entirely circular given that under the
       agreement, Aearo is obligated to indemnify 3M for all CAEv2 liability,
       yet Aearo is also authorized to seek repayment from 3M for those same
       liabilities. See In re Aearo Techs., LLC, 642 B.R. 891 (Bankr. S.D. Ind.
       Aug. 26, 2022). Thus, the agreement has no practical economic impact
       on Aearo’s ability to reorganize and fails to create the identity of interest
       that 3M desired.

Id. at 8 n.9.

                         SUMMARY OF THE ARGUMENT

       The bankruptcy court’s decision that Aearo cannot use the Bankruptcy Code

strategically to halt litigation against the multibillion dollar parent company, 3M,

was thoroughly supported by the evidence and the law, and should be affirmed.

       As an initial matter, the bankruptcy court’s decision rested on its conclusion

that Aearo failed at the evidentiary hearing to show that the 3M litigation presents

a genuine risk of material harm to its estates. That conclusion, in turn, was based on


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the bankruptcy court’s factual finding that Aearo is protected from the 3M litigation

by a fully-funded, uncapped, and unconditional source of financing under the Funding

Agreement with 3M. That determination was amply supported by the evidence.

Notwithstanding Appellants’ groundless contentions that the bankruptcy court

applied the wrong legal standard in reaching its decision, the fact that Appellants did

not and cannot show that the 3M litigation puts their estates at risk means that the

bankruptcy court’s decision was correct under any possible application of the law.

      For those reasons, the Court need not treat this appeal as anything more than

a meritless disagreement with a lower court’s well supported findings of fact.

However, even if the Court elects to view the appeal through Appellants’ distorted

prism and endeavors to settle the proper application of various provisions of the

Bankruptcy Code, the appeal still fails.

      First, this Court has long held that § 362(a)(1)’s automatic stay applies—as

the plain language of the provision says—to “debtors,” not nondebtors. The

bankruptcy court thus properly declined to extend the Debtors’ automatic stay to

cover Aearo’s nondebtor parent, 3M. The Fourth Circuit’s decision in A.H. Robins

does not change things. As the bankruptcy court explained, although this Court has

cited A.H. Robins in prior cases, it has not adopted its counter-textual rule that

§ 362(a)(1)’s automatic stay can be unmoored from protecting “debtors” and used to

insulate “nondebtors” (much less actually applied the rule in a case to benefit a

nondebtor). Even if the Court were inclined to embrace A.H. Robins in this manner,

this is not the case in which to do so. Given the bankruptcy court’s findings of fact—



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in particular the fact that Aearo faces no risk whatsoever if the 3M litigation

continues—this case plainly does not present the type of “unusual circumstances”

that might entitle a nondebtor like 3M to an automatic stay under A.H. Robins.

       Second, the bankruptcy court properly found that the automatic stay provided

by § 362(a)(3) does not apply to 3M as a result of its two shared insurance policies

with Aearo. Even assuming, as the bankruptcy court did, that Aearo’s and 3M’s

shared insurance policies constitute property of the Aearo’s bankruptcy estates, the

litigation against 3M is not an attempt to “exercise control” over those policies or their

proceeds under § 362(a)(3) for two reasons. First, Aearo did not present any evidence

below that they had the right to receive insurance proceeds in the event they were

disbursed. To the contrary, the evidence showed that 3M—the entity that paid all

litigation-related expenses—is entitled to the proceeds. Second, even if Aearo could

demand insurance proceeds that will instead accrue to 3M if litigation continues,

under the Funding Agreement Aearo is fully protected by 3M for any possible

liabilities.

       Third, the bankruptcy court correctly determined that it lacked the subject

matter jurisdiction required to preliminarily enjoin the 3M litigation under § 105(a).

Here, too, the bankruptcy court’s finding that 3M guaranteed Aearo an unrestricted

source of capital pursuant to the Funding Agreement rightfully carried the day. As

the bankruptcy court explained, in light of that commitment, there can be no dispute

that the 3M litigation will have no effect on the amount or allocation of property

available for distribution to Aearo’s creditors. Even if the Court adds the word



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“potential” to the analysis—as Appellants insist—the result is the same. The fact that

3M, a multi-billion dollar international corporation, agreed to fully fund any and all

liabilities held by Aearo eliminates any realistic potential for the 3M litigation to

adversely affect distributions to Aearo’s creditors. For the same reason, the

bankruptcy court correctly added that, even if it had subject matter jurisdiction, the

Debtors could not show the irreparable harm necessary to warrant injunctive relief

under § 105(a).

                                   ARGUMENT

I.    Standard of Review

      A bankruptcy court’s factual findings are reviewed for clear error. In re

Marcus-Rehtmeyer, 784 F.3d 430, 436 (7th Cir. 2015). Decisions granting or denying

an injunction are reviewed for abuse of discretion. Minnesota Mining & Mfg. Co. v.

Pribyl, 259 F.3d 587, 597 (7th Cir. 2001). This standard applies to injunctions under

§ 105 of the Bankruptcy Code. See In re Excel Innovations, Inc., 502 F.3d 1086, 1093

(9th Cir. 2007).

II.   Appellants’ Arguments Fail Due To Lack Of Evidence—Not The
      Application Of A Particular Legal Standard

      Appellants argue that the bankruptcy court erred by holding that under this

Circuit’s longstanding precedent, injunctive relief against nondebtors such as 3M is

available only under Bankruptcy Code § 105(a); not § 362(a). But that is a red

herring. Regardless of which legal framework applies, Appellants failed in their

evidentiary proof.




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      In order to prevail, the Appellants needed to show that absent a stay of

litigation against 3M, the bankruptcy estates faced a genuine risk of material harm.

That is the injunctive relief standard under Bankruptcy Code § 105(a), and it is true

as well under Appellants’ favored rubric in In re A.H. Robins Co., Inc., 788 F.2d 994

(4th Cir. 1986).

      The bankruptcy court’s findings demonstrate that continuing the CAEv2

earplugs litigation against 3M would not—indeed, could not—pose a genuine risk of

harm to Aearo because, at every turn, Aearo is protected by a fully-funded, uncapped,

and unconditional source of capital under the Funding Agreement. There is no

circumstance under which Aearo will fail to receive funding from 3M for all possible

liabilities, including indemnity obligations the Funding Agreement itself imposed on

Aearo.

      The bankruptcy court correctly determined, based on the evidence and the

testimony, that continuation of the pending actions against 3M will not cause “any

financial impact to creditors, let alone a significant and adverse one.” Bk.Adv.143 at

32; SA.32. And in a separate and subsequent ruling, the MDL Court found that 3M,

and not Aearo, is primarily and independently liable for the CAEv2 liabilities and

cannot blame Aearo for any proven liabilities. That court, too, found that the Funding

Agreement ensures no possible harm will befall Aearo. MDL.3610 at 21.

      This Court need not adopt Appellants’ proposed legal standard to resolve this

appeal. This Court and lower courts within this Circuit have routinely held that there

should be no injunction of nondebtor litigation if a debtor’s estate fails in its proof,



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without the need to decide if Bankruptcy Code § 362(a) can even apply as a matter of

law. Matter of Fernstrom Storage & Van Co., 938 F.2d 731, 736 (7th Cir. 1991)

(analyzing whether the A.H. Robins test would have been satisfied, but finding that

“Fernstrom fits within neither of these exceptions”); In re Caesars Ent. Operating Co.,

Inc., 540 B.R. 637, 643 n.8 (Bankr. N.D. Ill. 2015) (“But the Seventh Circuit has never

adopted the Robins exception: in [Fernstrom and Fox Valley] the court mentioned the

exception and then found it inapplicable without ever endorsing it.”); Edelson PC v.

Girardi, No. 20 C 7115, 2021 WL 3033616, at *15 (N.D. Ill. July 19, 2021) (“That is

because in the handful of times the Seventh Circuit has considered A.H. Robins Co

or other exceptions to section 362(a)(1), it has found that the non-debtor does not

qualify for the exceptions.”); Harley-Davidson Credit Corp. v. JHD Holdings Inc., No.

19-CV-155, 2020 WL 7078828, at *1 (W.D. Wis. Dec. 3, 2020) (“The Seventh Circuit

didn’t decide whether to adopt the Fourth Circuit’s rule because the party hadn’t

satisfied it, even if it did apply.”).

       Simply put, regardless of which framework applies, the bankruptcy court’s

factual findings were not clearly erroneous and allow only one conclusion under any

standard: the bankruptcy court did not abuse its discretion by rejecting Aearo’s efforts

to halt litigation against 3M.




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III.   Bankruptcy Code § 362(a) Does Not Support The Appellants’ Claim Of
       Error

       A.     Section 362(a)(1): The Bankruptcy Court Correctly Declined To
              Extend The Automatic Stay To Nondebtor 3M

              1.     This Appeal Presents No Basis To Adopt Or Apply A.H. Robins’
                     Atextual “Unusual Circumstances” Standard

       As the bankruptcy court correctly recognized, this Court has long held that

Bankruptcy Code § 362(a) means what is says—that it protects a debtor, and property

of a debtor, but not a nondebtor.8 But the bankruptcy court also noted that the label

for its analysis ultimately did not matter, because “‘many courts have used some

iteration of the phrases “extension of the stay” and “injunctive relief” interchangeably

when discussing whether to permit actions against nondebtor third parties to

proceed,’ while other courts have cited only to § 105,” and in this case it would simply

do the latter. Bk.Adv.143 at 22; SA.22 (quoting In re LTL Mgmt. LLC, 638 B.R. 291,

300 (Bankr. N.J. 2022)).


8   The “automatic stay provisions of Section 362(a) operate in favor of the bankrupt
    debtor only.” Pitts v. Unarco Indus., Inc., 698 F.2d 313, 314 (7th Cir. 1983). Lower
    courts in this Circuit, following decades of precedent, routinely hold that the
    automatic stay does not protect nondebtor co-defendants. Ford for Est. of Srmack-
    Brinkman v. Hall, No. 1:08-cv-1451-LJM-DKL, 2012 WL 13026886, at *2 (S.D.
    Ind. Apr. 17, 2012) (“Defendants have not filed for bankruptcy protection on their
    own, and the stay stemming from Bankruptcy Defendants’ petitions does not
    automatically extend to them as nondebtor codefendants.” (citing Fernstrom, 938
    F.2d at 735; Pitts, 698 F.2d at 314)); Arora v. Diversified Consultants, Inc., No. 20
    C 4113, 2021 WL 2399978, at *4 n.3 (N.D. Ill. June 11, 2021) (“It is the
    overwhelming consensus among the circuits, as in the Seventh Circuit, to hold
    that the automatic stay is not available to non-bankrupt co-defendants of a debtor
    even if they are in a similar legal or factual nexus with the debtor.”); In re Westlake
    Prop. Holdings, LLC, 606 B.R. 772, 780 (Bankr. N.D. Ill. 2019) (“The protections
    of § 362 neither apply to co-defendants nor preclude severance.” (citation
    omitted)).


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       This Court should affirm. It has never applied the A.H. Robins holding to

extend the automatic stay to a nondebtor. Fox Valley Const. Workers Fringe Ben.

Funds v. Pride of Fox Masonry & Expert Restorations, 140 F.3d 661, 666 (7th Cir.

1998) (citing A.H. Robins, but “quickly dispos[ing] of any argument that the

automatic stay deprived the [lower] court of jurisdiction to sanction [a nondebtor]”);

Fernstrom, 938 F.2d at 735–36 (affirming decisions below rejecting application of the

automatic stay and permitting litigation by a nondebtor to proceed against the debtor

in non-bankruptcy court where any recovery would be limited to the debtor’s

insurance proceeds). Whatever might be the status of the A.H. Robins approach in

this Circuit, this is certainly not the case by which to adopt and refine it, given that

the very factors assessed by the bankruptcy court in connection with Aearo’s request

for relief under § 105(a) would disqualify it for relief under any reading of A.H.

Robins.

             2.     Even If This Court Considers § 362(a)(1) A Legal Basis To Enjoin,
                    3M’s Direct Liability Requires Affirmance

       Nor is there any merit to Appellants’ new argument, see Br.34, that § 362(a)(1)

“must encompass cases in which the debtor is not a defendant” because its second

clause refers to suits “to recover a claim against the debtor.” Br.34 (citing In re

Colonial Realty Co., 980 F.2d 125, 131 (2d Cir. 1992)).9




9   None of the cases Appellants cite in support of this argument were cited or
    discussed by Appellants below, and, not surprisingly, the bankruptcy court had no
    need to address them.


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      Even had they properly raised the issue below, Appellants ignore the factual

findings of the MDL Court, that 3M and not Aearo bears responsibility for any proven

CAEv2 liabilities. A suit against 3M is not a suit “to recover a claim against the

debtor.” Litigation against 3M is litigation against 3M, for 3M’s separately culpable

conduct. A.H. Robins, 788 F.2d at 999 (noting that § 362(a)(1) protects only pure

indemnitees, not separately liable joint tortfeasors). The only possible way Aearo

could have any responsibility is via the Funding Agreement’s indemnity provision,

but 3M is responsible for funding the indemnity obligation, so in the end the MDL

litigation against 3M still is not litigation to recover a claim against Aearo.

      The Second Circuit has made clear that the Colonial Realty holding on which

Appellants seek to rely applies only in the narrow circumstance of fraudulent transfer

litigation against transferees of a debtor’s property brought by creditors of the debtor.

“[W]e explained in Colonial Realty [that] ‘[a]bsent a claim against the debtor, there

is no independent basis for the action against the transferee.’ . . . In order to qualify

as ‘disguised fraudulent transfer actions,’ therefore, the complaints . . . would have to

be contingent on [the debtor’s] wrongful transfer of the funds sought.” Picard v.

Fairfield Greenwich Ltd., 762 F.3d 199, 209 (2d Cir. 2014). Appellants’ citation to

Colonial Realty is thus irrelevant.

      B.     Section 362(a)(3): The Bankruptcy Court Correctly Found That
             Property Of The Estate Is Not And Cannot Be Threatened By
             Continued Litigation Against Nondebtor 3M

      Appellants’ argument that Bankruptcy Code § 362(a)(3) also bars continued

litigation against 3M fares no better, and for similar reasons. Section 362(a)(3) stays



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“any act to obtain possession of property of the estate or of property from the estate

or to exercise control over property of the estate.” Appellants contend that the CAEv2

cases against 3M meet this standard because they purportedly involve an attempt to

exercise control over the proceeds from insurance policies that Aearo shares with 3M.

As the bankruptcy court found, they are incorrect.

      Of course, a debtor’s insurance policy is property of the estate. Home Ins. Co.

v. Cooper & Cooper, Ltd., 889 F.2d 746, 748 (7th Cir. 1989) (“A policy of insurance is

an asset of the estate.”). But litigation against 3M is not an attempt to seize an

insurance policy that belongs to Aearo.

      Insurance proceeds fall under a different rubric. As the bankruptcy court

recognized, the relevant question is not whether there is a policy but rather whether

“tapping the insurance policies to cover any liability incurred in the Pending Actions

[could] affect the amount of money Aearo can pay its creditors.” Bk.Adv.143 at 26;

SA.26 (citing In re Stinnett, 465 F.3d 309, 312–13 (7th Cir. 2006)). Stinnett dictates

that whether insurance proceeds are property of the estate depends on “whether the

debtor would have a right to receive and keep those proceeds when the insurer paid

on a claim.” Id. at 313 (quoting In re Edgeworth, 993 F.2d 51, 55 (5th Cir. 1993)).

Appellants did not present any evidence below that if insurance proceeds were paid,

Aearo had any right to them; rather, the evidence showed that because 3M paid all

expenses, it would be the party entitled to reimbursement.

      Further, this Court in Fernstrom held that a suit against a nondebtor to collect

the proceeds of a debtor’s insurance policy was not a suit to collect property of the



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estate because it would not cause any detriment to the estate’s creditors. 938 F.2d at

735–36. As the bankruptcy court found, depleting the available insurance proceeds

will not adversely impact the Aearo’s creditors because of the Funding Agreement’s

backstop. Bk.Adv.143 at 26; SA.26. Section 362(a)(3) thus does not apply.

       Appellants pretend that the bankruptcy court held that § 362(a)(3) does not

protect against interference with property of the estate as long as there are sufficient

funds from other property of the estate, see Br.49, but that is not what the bankruptcy

court held. To the contrary, the bankruptcy court, relying on Stinnett, ruled only that

the shared liability policies do not inure to the benefit of the estate, and therefore

that litigation against 3M did not violate § 362(a)(3). Bk.Adv.143 at 24–26; SA.24–

26. That finding was not clearly erroneous.

IV.    The Bankruptcy Court Did Not Abuse Its Discretion By Denying
       Injunctive Relief

       A.     The Bankruptcy Court Correctly Found That The Facts Fail To
              Support “Related To” Jurisdiction

       “A case is ‘related’ to a bankruptcy when the dispute ‘affects the amount of

property for distribution [i.e., the debtor’s estate] or the allocation of property among

creditors.’” In re Mem’l Ests., Inc., 950 F.2d 1364, 1368 (7th Cir. 1991) (quoting In re

Xonics, Inc., 83 F.2d 127, 131 (7th Cir. 1987)). The bankruptcy court correctly found

that this test is not satisfied here:

       [W]hatever liability the Pending Actions generate—in bankruptcy,
       outside of bankruptcy, stay in place, or no stay—Aearo can satisfy such
       liability by making a payment request under the Funding Agreement.
       From this, the Court is unable to discern any financial impact to
       creditors, let alone a significant and adverse one, from the continuation
       of the Pending Actions. Stated differently, the Court cannot conclude


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      that continuation of the Pending Actions will affect the amount of
      property for distribution or the allocation of property among creditors.

Bk.Adv.143 at 32; SA.32.

      Appellants note that “related to” jurisdiction is broad, Br.61, but that is neither

here nor there. As the bankruptcy court correctly explained, the test is whether the

dispute will impair the estate, and “simply because a dispute may have some type of

nexus to a bankruptcy proceeding is not enough to give the court ‘related to’

jurisdiction over it.” Bk.Adv.143 at 30; SA.30 (citing Home Ins. Co., 889 F.2d at 749).

Indeed, even though many circuits use the “any conceivable effect” test for “related

to” jurisdiction, in this case there can be no conceivable effect on the Aearo’s

bankruptcy estates because of the terms of the Funding Agreement. There is no

scenario in which, absent a stay of the CAEv2 litigation against it, 3M can cut off all

funding to Aearo necessary to pay all liabilities.

      So too, the evidence reveals Appellants’ lengthy discussion of “ex ante”

assessment and “potential effects” to be a sideshow. See Br.62–65. The bankruptcy

court found that the Funding Agreement is “a circular arrangement,” obviating the

possibility of harm to Aearo—“potential” or otherwise. Accordingly, “related to”

jurisdiction was not established.

      B.     The Bankruptcy Court Correctly Rejected Aearo’s “Distraction”
             Argument

      Appellants tell this Court that “[t]estimony established that critical 3M legal,

insurance, and accounting executives who provide services to Aearo under the SSA

‘would be significant[ly] distracted’ from assisting with Aearo’s reorganization by the



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CAEv2 litigation against 3M.” Br.57. But the court that actually heard that testimony

concluded otherwise:

      The Court puts little stock on this claim. Aearo and 3M have been
      embroiled in the MDL for over three years, yet the Court heard no
      evidence that 3M has, to date, been unable to perform under the SSA.
      Undoubtedly those 3M employees tasked with providing services under
      the SSA are busy and likely taxed on a regular basis in the ordinary
      course of 3M’s business. But the Court has otherwise heard no evidence
      to conclude that Aearo’s operations or its administration of these
      bankruptcy cases will be impacted in the manner that Aearo argues.

Bk.Adv.143 at 34–35; SA.34–35.

      Appellants failed to identify a single Aearo or 3M employee who would be

necessary to Aearo’s reorganization and distracted by continuing litigation against

3M. Without such evidence, the Court properly rejected Aearo’s “distraction” theory

as baseless.

      Appellants pointed only to various 3M employees who provide generic back-

office services to Aearo under the Shared Services Agreement. But 3M’s obligations

to provide services to Aearo under the Shared Services Agreement existed throughout

the MDL without causing any distractions and, in any event, were not conditioned on

the existence (or non-existence) of CAEv2 Earplug litigation against 3M. The

bankruptcy court did not clearly err by putting “little stock” in this evidentiary

argument.

      Appellants also argue that “ongoing prosecution of the Pending Actions against

3M will force the Debtors’ management and outside advisors to focus on defending

thousands of lawsuits instead of working toward a global, systematic, and equitable

resolution of Combat Arms Claims under the supervision of the Bankruptcy Court.”


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Bk.Adv.2 at 38. Appellants fail to cite any Seventh Circuit case enjoining litigation

against a nondebtor because it might “distract” management or outside advisors. It

is a nonsensical position to take, both as a matter of law, and as a factual matter here.

       Courts addressing nominally analogous matters have rejected the argument

Appellants make. In re MCSi, Inc., 371 B.R. 270, 270–71 (S.D. Ohio 2004), concerned

whether litigation against certain officers of the debtor was subject to the automatic

stay. The court neither held nor even examined whether distraction of the officers,

who—unlike any of Aearo’s officers or advisors here—were actually named co-

defendants in a suit against the debtor, might support staying the litigation against

them. See id. And, ultimately, the court there found the stay did not extend to the

litigation against the officers. Id. at 275.

       In In re Calpine Corp., 365 B.R. 401, 411–13 (S.D.N.Y. 2007), the debtor was

in the business of generating electrical power. The key employee in question, “Zadlo[,]

[was] the sole remaining Transmission Director and the only transmission engineer.”

Id. at 411. The court found that the evidence supported a finding that Zadlo’s unique

and highly technical knowledge in the area of electricity transmission was

indispensable to the debtor’s restructuring effort. The court further found that if the

litigation continued, Zadlo would have to devote significant time to reviewing

discovery “due to the highly technical nature of the documents, which could not be

deciphered by a lay person (or a lawyer).” Id.

       No similar facts exist here. Appellants failed to identify a single employee who

would be necessary to their reorganization and distracted by continuing litigation



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against 3M. Testimony below made clear that no Aearo employees had any

involvement in the MDL, and no evidence was provided to establish that absent a

stay Aearo’s management would somehow now be distracted. The bankruptcy court

made no erroneous findings on this issue.10

        C.    The Bankruptcy Court Correctly Ruled In The Alternative That
              Aearo Failed To Establish The Need For Injunctive Relief

        The burden is on the movant to clearly establish the necessity for injunctive

relief. See In re Gathering Rest., Inc., 79 B.R. 992, 1000 (Bankr. N.D. Ind. 1986). The

bankruptcy court expressly ruled that “even if it were to find that it has subject

matter jurisdiction over the Pending Actions, the court would reach the same

conclusion.” Bk.Adv.143 at 35; SA.35. Having determined that a continuation of the

Pending Actions would have no economic effect on the bankruptcy estate, the court

found “no basis upon which to invoke its § 105(a) powers.” Id. That ruling plainly was

not an abuse of discretion, and should not be disturbed.

        D.    Section 105(a)’s Balance Of Equities, Public Interest, And Abuse-
              of-Process Factors Independently Warrant Affirmance

        This Court can affirm the decision of the bankruptcy court on any ground

advanced by the Objecting Parties below. Zedan v. Habash, 529 F.3d 398, 403 (7th

Cir. 2008); In re Dye, 360 F.3d 744, 750 (7th Cir. 2004). In addition to the points

established above, this Court should affirm the denial of injunction on the ground




10   Since the Petition Date, the Aearo Debtors have been operationally profitable, and
     there has been no significant loss of employees notwithstanding the continued
     litigation against 3M. See Bk.818 at 17; Bk.948 at 5; Bk.1025 at 1.


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that the Debtors and 3M sought to manufacture Appellants’ insolvency through the

Funding Agreement for the improper purpose of evading the MDL Court. See

Bk.Adv.108 at 34.

      “The object of bankruptcy is to adjust the rights of the creditors of a bankrupt

company; it is not to allow a solvent company to try to lighten its [debt] burden.” In

re S. Beach Sec., Inc., 606 F.3d 366, 376 (7th Cir. 2010). South Beach echoes the facts

presented here:

      At the onset of the series of transactions among [the sole shareholder’s]
      puppet firms, [debtor] was solvent. At the end it was insolvent as a
      result of having been directed by [the sole shareholder to incur debt that
      it] could not repay . . . . The series of transactions set the stage for . . . a
      Chapter 11 reorganization . . . [without] any real debt or real creditors
      [which] shows that this case doesn’t belong in bankruptcy court.

Id. (citing In re Coastal Cable TV, Inc., 709 F.2d 762, 764–65 (1st Cir. 1983)). The

Funding Agreement represents a manipulation of the Appellants’ financial situation

and indemnity obligations to shoehorn their facts into the injunction factors. But this

manipulation, found by one federal court to be in bad faith, cannot then support the

invocation of the bankruptcy court’s equitable powers.

      A “bankruptcy court is one of equity . . . [and] a person who seeks the

protection of equity must do equity.” In re Thomas, 204 F.2d 788, 794 (7th Cir. 1953).

A party who acts in bad faith related to the matter cannot seek equitable relief in

that same matter. AP Siding & Roofing Co. v. Bank of New York Mellon, 548 B.R.

473, 480 (N.D. Ill. 2016); In re Cox, 175 B.R. 266, 274 (Bankr. C.D. Ill. 1994). Section

105 allows a court to “tak[e] any action or mak[e] any determination necessary or

appropriate . . . to prevent an abuse of process.” 11 U.S.C. § 105(a); see also Marrama


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v. Citizens Bank of Massachusetts, 549 U.S. 365, 375 (2007). Here, 3M’s manipulation

of Aearo’s liabilities to then invoke § 105 to garner the protections of the automatic

stay abuses the bankruptcy process. Appellants cannot use the bankruptcy court to

further a bad faith design. S. Beach, 606 F.3d at 377 (citing Shapiro v. Wilgus, 287

U.S. 348, 355 (1932) (where the Supreme Court declared equitable relief that “was

part and parcel of a scheme whereby the form of a judicial remedy was to supply a

protective cover for a fraudulent design”)).

      More than twelve years after transferring their then-active CAEv2 Earplug

business to 3M, and after consistently accounting for and conducting themselves

accordingly, 3M suddenly shifted positions to try to blame Aearo in order to justify

Aearo’s bankruptcy filing. MDL.3610 at 7–9. Fleeing adverse rulings in the MDL it

previously supported, 3M shifted its liabilities to the Debtors in an eve-of-bankruptcy

transaction transferring billions of dollars of 3M’s liabilities to Debtors in return for

3M’s agreement to fund the repayment of those same liabilities. Id. This transaction

lacked any purpose other than to make Appellants a pawn in 3M’s plan to hinder and

delay pending litigation in other forums. This Court should not countenance such

misconduct.

                                   CONCLUSION

      The judgment should be affirmed, and the case remanded to the bankruptcy

court for further proceedings.



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Dated: February 13, 2023                    Respectfully submitted,

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      I hereby certify that on February 13, 2023, the Corrected Brief of Appellees

was filed with the Clerk of the Court for the United States Court of Appeals for the

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